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 5 Attorney for Defendant
   ARTURO GARCIA
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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 10-CR-102
12                                 Plaintiff,               STIPULATION TO CONTINUE
                                                            SENTENCING AND EXCLUDE TIME
13   v.                                                     PERIODS UNDER SPEEDY TRIAL
                                                            ACT; FINDINGS AND ORDER
14   ARTURO GARCIA,
15                                 Defendant.
16

17                          STIPULATION TO CONTINUE SENTENCING
                        AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT
18
            Defendant, by and through his counsel, Robert L. Forkner and Plaintiff, United States of
19

20 America, by and through its counsel of record Assistant United States Attorney Paul Hemesath,

21 hereby stipulate as follows:

22          1.       By previous order, this matter was set for sentencing on October 30, 2012.
23          2.       By this stipulation, defendant now moves to continue the sentencing until December
24
     18, 2012 and to exclude time between October 30, 2012 and December 18, 2012 under Local Code
25
     T4 and 18 U.S.C. § 3161. Plaintiff does not object to this request.
26
            3.       The parties agree and stipulate, and request that the Court find the following:
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28          a.       The United States Probation Officer has represented that a revised Presentencing
                                                        1
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     Report will be forthcoming.
 1
            b.       Counsel for defendant desires additional time consult with his client, to review the
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 3 Presentencing Report with a certified interpreter and to file possible objections to the report.

 4          c.       The defendant believes that failure to grant the above-requested continuance would
 5 deny the defendant the reasonable time necessary for effective preparation, taking into account the

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     exercise of due diligence, and for further plea negotiations.
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            d.       The government stipulates to the continuance.
 8
            e.       Based on the above-stated findings, the ends of justice served by continuing the case
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10 as requested outweigh the interest of the public and the defendant in a trial within the original date

11 prescribed by the Speedy Trial Act.

12          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
13 seq., within which trial must commence, the time period of October 30, 2012 to December 18, 2012,

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     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
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     because it results from a continuance granted by the Court at defendant’s request on the basis of the
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     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
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18 public and the defendant in a speedy trial.

19          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of

20 the Speedy Trial Act dictate that additional time periods are excludable from the period

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     within which a trial must commence.
22
     IT IS SO STIPULATED.
23
     DATED:          October 17, 2012.
24

25                                          /s/ Robert L. Forkner___________
                                            ROBERT FORKNER
26                                          Attorney for the Defendant
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                                                         2
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     DATED:       October 17, 2012.
 1

 2                                    /s/ Paul Hemesath      _________
                                      PAUL HEMESATH
 3                                    Assistant United States Attorney
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 8                                          ORDER
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         IT IS SO FOUND AND ORDERED this 23rd day of October, 2012.
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